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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  AT ASHLAND

CRIMINAL NO. 09-13-DLB-EBA-3

UNITED STATES OF AMERICA                                                      PLAINTIFF


vs.                                           ORDER


YVETTE LYNN DUNN                                                           DEFENDANT

                              *    *      *     *     *   *   *

      This matter is before the Court upon the May 20, 2011, Report and

Recommendation (R&R) of the United States Magistrate Judge wherein he recommends

that, despite Defendant Dunn’s admitted violation of her supervised release, the Court not

sentence her to a period of incarceration, but continue her on the current terms of her

supervised release. (Doc. # 122). During the final revocation hearing conducted by

Magistrate Judge Atkins on May 19, 2011, Defendant admitted to violating the terms of her

supervised release. Defendant also waived her right to allocution (Doc. # 122) at that

hearing. The time for filing any objections to the R&R having expired, the R&R is ripe for

the Court’s consideration.

      Having reviewed the R&R, and the Court concluding that the R&R is sound in all

respects, including the recommended disposition and the basis for said recommendation,

and the Court being otherwise sufficiently advised,

      IT IS ORDERED as follows:

      1.     The Report and Recommendation (Doc. # 122) is hereby ADOPTED as the

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                  findings of fact and conclusions of law of the Court;

         2.       Defendant is found to have VIOLATED the terms of her supervised release;

                  and

         3.       Defendant shall CONTINUE on the current terms of her supervised release.

         This 15th day of June, 2011.




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